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                          UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA



Business Leaders in Christ

                                              CIVIL NUMBER: 3:17-cv-00080-SMR-SBJ
                        Plaintiff(s),

 v.                                           JUDGMENT IN A CIVIL CASE

The University of Iowa, et al.



                        Defendant(s),


         JURY VERDICT. This action came before the Court for trial by jury. The issues have
 been tried and the jury has rendered its verdict.


      ✔ DECISION BY COURT. This action came before the Court. The issues have been
 considered and a decision has been rendered.



         IT IS ORDERED AND ADJUDGED:
Judgment is entered in favor of plaintiff against defendants as follows: $1 for damages
from each defendant and a total of $1,373,206.51 for attorney fees and expenses.



 Date: November 12, 2021
                                                     CLERK, U.S. DISTRICT COURT


                                                     /s/ K. Watson
                                                     _____________________________
                                                     By: Deputy Clerk
